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   6
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   7
   8                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10
  11    ERIC WHITE, Individually and on            No.
        behalf of all others similarly situated,
  12                                               CLASS ACTION COMPLAINT
  13                  Plaintiff,                   FOR VIOLATIONS OF THE
                                                   FEDERAL SECURITIES LAWS
  14                  v.
  15                                               CLASS ACTION
        BROOGE ENERGY LIMITED F/K/A
  16
        BROOGE HOLDINGS LIMITED      JURY TRIAL DEMANDED
  17    F/K/A TWELVE SEAS INVESTMENT
        COMPANY, NICOLAAS L.
  18
        PAARDENKOOPER, SALEH
  19    YAMMOUT, SYED MASOOD ALI,
  20    BURGESE VIRAF PAREKH, LINA
        SAHEB, DIMITRI ELKIN, NEIL
  21    RICHARDSON, STEPHEN N.
  22    CANNON, and PAUL DITCHBURN,
  23                 Defendants.
  24
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  1         Plaintiff Eric White (“Plaintiff”), individually and on behalf of all other
  2   persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s
  3   complaint against Defendants (defined below), alleges the following based upon
  4   personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and
  5   belief as to all other matters, based upon, among other things, the investigation
  6   conducted by and through his attorneys, which included, among other things, a
  7   review of the Defendants’ public documents, public filings, wire and press releases
  8   published by and regarding Brooge Energy Limited (“Brooge” or the “Company”),
  9   and information readily obtainable on the Internet. Plaintiff believes that
 10   substantial evidentiary support will exist for the allegations set forth herein after a
 11   reasonable opportunity for discovery.
 12                              NATURE OF THE ACTION
 13
            1.     This is a class action on behalf of persons or entities who purchased
 14
      or otherwise acquired publicly traded Brooge securities between November 25,
 15
      2019 and December 21, 2023 inclusive (the “Class Period”). Plaintiff seeks to
 16
      recover compensable damages caused by Defendants’ violations of the federal
 17
      securities laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
 18
 19                             JURISDICTION AND VENUE
 20         2.     The claims asserted herein arise under and pursuant to Sections 10(b),
 21   and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b), 78n(a) and 78t(a)) and Rule
 22   10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
 23         3.     This Court has jurisdiction over the subject matter of this action
 24   pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.
 25   §78aa).
 26         4.     Venue is proper in this judicial district pursuant to 28 U.S.C. §
 27   1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged
 28
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  1   misstatements entered and the subsequent damages took place in this judicial
  2   district.
  3          5.    In connection with the acts, conduct and other wrongs alleged in this
  4   complaint, Defendants (defined below), directly or indirectly, used the means and
  5   instrumentalities of interstate commerce, including but not limited to, the United
  6   States mails, interstate telephone communications and the facilities of the national
  7   securities exchange.
  8                                       PARTIES

  9          6.    Plaintiff, as set forth in the accompanying certification, incorporated
 10   by reference herein, purchased Brooge securities during the Class Period and was
 11   economically damaged thereby.
 12          7.    Brooge is incorporated in the Cayman Islands, and its principal
 13   executive offices are located at Opus Tower A, 1002, Business Bay, Dubai, United
 14   Arab Emirates. Brooge operates through its subsidiary, Brooge Petroleum and Gas
 15   Investment Company FZE (“BPGIC Subsidiary”), which was formed under the
 16   laws of the Fujairah Free Zone, United Arab Emirates, and conducts its business
 17   out of an oil storage facility in Fujairah, United Arab Emirates. After the SPAC
 18   Merger (defined below), Brooge went by the name “Brooge Holdings Limited”,
 19   until April 2020.
 20          8.    On December 20, 2019, Brooge went public through a SPAC merger
 21   (the “SPAC Merger” or the “Transaction”) which entailed the following set of
 22   mergers between Twelve Seas Investment Company, which then changed its name
 23   to BPGIC International (“Twelve Seas”), Brooge Holdings Limited (the Company
 24   changed its name to “Brooge Energy Limited” in April 2020), BPGIC Subsidiary,
 25   and a merger sub created for the purpose of facilitating the SPAC Merger:
 26
             The board of directors of Twelve Seas Investment Company, a Cayman
 27          Islands exempted company (“Twelve Seas”) has unanimously approved the
 28          Business Combination Agreement, dated as of April 15, 2019 (the “Business
 29                                            2
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  1         Combination Agreement”), by and among Twelve Seas, Brooge Holdings
            Limited, a Cayman Islands exempted company (“Pubco”), Brooge Merger
  2         Sub Limited, a Cayman Islands exempted company and a wholly owned
  3         subsidiary of Pubco (“Merger Sub”), Brooge Petroleum And Gas Investment
            Company FZE, a company formed under the laws of the Fujairah Free Zone,
  4         UAE (“BPGIC”) and the shareholder of BPGIC who has become a party
  5         thereto (the “Seller”), which, among other things, provides for (i) the
            Merger of Merger Sub with Twelve Seas, with Twelve Seas surviving the
  6         Merger and the security holders of Twelve Seas becoming security holders
  7         of Pubco, (ii) upon the effectiveness of such Merger, the exchange of 100%
            of the outstanding ordinary shares of BPGIC by the Seller for Ordinary
  8
            Shares of Pubco (collectively, the “Business Combination”) and (iii) the
  9         adoption of Pubco’s amended and restated memorandum and articles of
 10         association. As a result of and upon consummation of the Business
            Combination, each of Twelve Seas and BPGIC will become a wholly owned
 11         subsidiary of Pubco, as described in this proxy statement/prospectus and
 12         Pubco will become a new public company owned by the prior shareholders
            of Twelve Seas and the prior shareholder of BPGIC.
 13
 14         Pursuant to the Business Combination Agreement, upon the consummation
            of the Business Combination (i) each outstanding ordinary share of Twelve
 15
            Seas will be converted into one Ordinary Share of Pubco, (ii) each
 16         outstanding Warrant of Twelve Seas will be converted into one warrant of
 17         Pubco that entitles the holder thereof to purchase one Ordinary Share of
            Pubco in lieu of one ordinary share of Twelve Seas and otherwise upon
 18         substantially the same terms and conditions, and (iii) each outstanding Right
 19         of Twelve Seas will be exchanged for one-tenth of an Ordinary Share of
            Pubco.
 20
 21         (Emphasis added).
 22         9.    The above-detailed SPAC Merger was executed on or about
 23   December 23, 2019.
 24         10.   Brooge common shares trade on the NASDAQ exchange under the
 25   ticker symbol "BROG".
 26         11.   Defendant Nicolaas L. Paardenkooper (“Paardenkooper”) served as
 27   Brooge’s Chief Executive Officer (“CEO”) and Chairman of the Board of
 28   Directors, from once the SPAC Merger was consummated until December 8, 2022.
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  1   Prior to the SPAC Merger, he was the CEO of BPGIC Subsidiary and Legacy
  2   Brooge.
  3         12.   Defendant Lina Saheb served as the Company’s interim CEO from
  4   December 8, 2022 until August 8, 2023.
  5         13.   Defendant Paul Ditchburn (“Ditchburn”) has served as the
  6   Company’s Chief Financial Officer (“CFO”) since December 2022.
  7         14.   Additionally, after Defendant Saheb resigned from the Company on
  8   August 8, 2023, an “Office of the Chief Executive Officer” was formed to
  9   temporarily provide for Company leadership while the Company searches for a
 10   new CEO. Defendant Ditchburn serves in this group role along with Defendant
 11   Yammout.
 12         15.   Defendant Saleh Yammout (“Yammout”) was the CFO of BPGIC
 13   Subsidiary at the time of the SPAC Merger and held the role until April 27, 2020.
 14   He joined Brooge in October 2018. He currently serves as a non-executive Director
 15   and in the Office of the Chief Executive Office.
 16         16.   Defendant Syed Masood Ali (also referred to as “Syed Masood” in
 17   certain of the Company’s filings) (“Syed”) served as Brooge’s CFO from April 27,
 18   2020 until April 28, 2022.
 19         17.   Defendant Burgese Viraf Parekh (“Parekh”) has served as the
 20   Company’s CFO since April 28, 2022. Parekh previously worked from 2018 to
 21   2022 as Brooge’s finance manager.
 22         18.   Defendant Neil Richardson (“Richardson”) was Twelve Seas’
 23   Chairman at the time of the SPAC Merger.
 24         19.   Defendant Dimitri Elkin (“Elkin”) was Twelve Seas’ CEO at the time
 25   of the SPAC Merger.
 26         20.   Defendant Stephen N. Cannon (“Cannon”) was Twelve Seas’ CFO at
 27   the time of the SPAC Merger.
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  1         21.   Defendants Paardenkooper, Yammout, Syed Masood Ali, Parekh,
  2   Saheb, Elkin, Richardson, Cannon, and Ditchburn are collectively referred to
  3   herein as the “Individual Defendants.”
  4         22.   Each of the Individual Defendants:
  5         (a)   directly participated in the management of the Company;
  6         (b)   was directly involved in the day-to-day operations of the Company at
  7         the highest levels;
  8         (c)   was privy to confidential proprietary information concerning the
  9         Company and its business and operations;
 10         (d)   was directly or indirectly involved in drafting, producing, reviewing
 11         and/or disseminating the false and misleading statements and information
 12         alleged herein;
 13         (e)   was directly or indirectly involved in the oversight or implementation
 14         of the Company’s internal controls;
 15         (f)   was aware of or recklessly disregarded the fact that the false and
 16         misleading statements were being issued concerning the Company; and/or
 17         (g)   approved or ratified these statements in violation of the federal
 18         securities laws.
 19         23.   The Company is liable for the acts of the Individual Defendants and
 20   its employees under the doctrine of respondeat superior and common law
 21   principles of agency because all of the wrongful acts complained of herein were
 22   carried out within the scope of their employment.
 23         24.   The scienter of the Individual Defendants and other employees and
 24   agents of the Company is similarly imputed to Brooge under respondeat superior
 25   and agency principles.
 26         25.   Defendant Brooge and the Individual Defendants are collectively
 27   referred to herein as “Defendants.”
 28                           SUBSTANTIVE ALLEGATIONS

 29                                            5
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  1    Materially False and Misleading Statements Issued During the Class Period

  2         26.   On November 25, 2019, Twelve Seas filed with the SEC its definitive
  3   proxy on SEC Form Schedule 14A (the “Proxy”) to solicit votes for its December
  4   19, 2019 Special Meeting to approve the planned merger with the then-private
  5   Brooge Holdings Limited (“Legacy Brooge”).
  6         27.   The Proxy contained the following table purporting to show Legacy
  7   Brooge’s 2018 Revenues:
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20         28.   This statement was materially false and misleading at the time it was
 21   made because, as Defendants knew, Legacy Brooge’s revenue for 2018 was
 22   materially lower than $35,289,268.
 23         29. The Proxy contained the following risk disclosure:
 24         Following the consummation of the Business Combination, Pubco’s only
            significant asset will be its ownership of BPGIC and affiliates and such
 25         ownership may not be sufficient to pay dividends or make distributions or
 26         obtain loans to enable Pubco to pay any dividends on its Ordinary Shares
            or satisfy other financial obligations.
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  1         Following the consummation of the Business Combination, Pubco will be a
            holding company and will not directly own any operating assets other than
  2         its ownership of interests in BPGIC. Pubco will depend on BPGIC for
  3         distributions, loans and other payments to generate the funds necessary to
            meet its financial obligations, including its expenses as a publicly traded
  4         company and to pay any dividends. The earnings from, or other available
  5         assets of, BPGIC may not be sufficient to make distributions or pay
            dividends, pay expenses or satisfy Pubco’s other financial obligations.
  6
            30.   This statement was materially false and misleading because it
  7
      understated the risks the post-SPAC entity faced considering that Legacy Brooge
  8
      (through BPGIC Subsidiary) was engaging in an accounting fraud designed to
  9
      inflate the Company’s revenues.
 10
            31. The Proxy contained the following risk disclosure:
 11         Fluctuations in operating results, quarter to quarter earnings and other
 12         factors, including incidents involving BPGIC’s customers and negative
            media coverage, may result in significant decreases in the price of Pubco
 13
            securities post-Business Combination.
 14
 15         The stock markets experience volatility that is often unrelated to operating
            performance. These broad market fluctuations may adversely affect the
 16         trading price of Pubco securities post-Business Combination and, as a result,
 17         there may be significant volatility in the market price of Pubco securities
            post-Business Combination. If BPGIC is unable to operate profitably as
 18         investors expect, the market price of Pubco securities post-Business
 19         Combination will likely decline when it becomes apparent that the market
            expectations may not be realized. In addition to operating results, many
 20
            economic and seasonal factors outside of Pubco’s or BPGIC’s control could
 21         have an adverse effect on the price of Pubco securities post-Business
 22         Combination and increase fluctuations in its quarterly earnings. These
            factors include certain of the risks discussed herein, operating results of
 23         other companies in the same industry, changes in financial estimates or
 24         recommendations of securities analysts post-Business Combination,
            speculation in the press or investment community, negative media coverage
 25         or risk of proceedings or government investigation, the possible effects of
 26         war, terrorist and other hostilities, adverse weather conditions, changes in
            general conditions in the economy or the financial markets or other
 27         developments affecting the oil and gas storage industry.
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  1
            (Emphasis added).
  2
            32.   This statement was materially false and misleading because it
  3
      understated the risk of Brooge’s risk of being unable to operate profitably, given
  4
      that Legacy Brooge was engaging in accounting fraud at the time the Proxy was
  5
      filed with the SEC.
  6
            33.   The “BPGIC Related Party Transactions and Policies” section of the
  7
      Proxy stated the following about Al Brooge International Advisory LLC (“BIA”):
  8
  9         The Phase I & II Customer, Al Brooge International Advisory LLC is
            partially owned by Mrs. Hind Muktar. Mrs. Hind Muktar will also be a
 10         limited partner of H Capital International LP and the sole shareholder of
 11         Gyan Investments Limited, the general partner of H Capital International
            LP. The Phase I Customer Agreement provides for Al Brooge International
 12         Advisory LLC to lease all 14 Phase I storage tanks for a fixed fee per cubic
 13         meter per month payable in advance on a monthly basis. The Phase I
            Customer Agreement also provides that Al Brooge International Advisory
 14
            LLC shall pay BPGIC a fixed fee per cubic meter per month for product
 15         throughput with a supplementary fee per metric ton of throughput in excess
 16         of agreed volume, a fixed blending fee per cubic meter per month, a fixed
            inter tank transfer fee per cubic meter per month, and a fixed heating fee of
 17         per cubic meter per month. Further, BPGIC is entitled to pass through any
 18         tariffs, additional charges or fees imposed by the Port of Fujairah. BPGIC is
            entitled to review and seek to amend the fees every two years. This
 19         adjustment can result only in the fees remaining constant or increasing.
 20         BPGIC believes that the terms of this agreement are no less favorable to
            BPGIC than would result from a similar transaction with an unaffiliated third
 21
            party. Al Brooge International Advisory LLC is only allowed to sublease the
 22         Phase I storage tanks with BPGIC’s prior approval. H Capital International
 23         LP is a minority stakeholder in BPGIC and following a planned sale of Mrs.
            Muktar’s shares in Al Brooge International Advisory LLC, Al Brooge
 24         International Advisory LLC will no longer be a related party.
 25
 26         34.   This statement was materially false and misleading because it

 27   understated Brooge’s relationship with BIA, and did not disclose that BIA had no

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   1   meaningful business operations aside from helping Brooge engage in accounting
   2   fraud.
   3            35.   On November 27, 2020, the Company filed with the SEC its amended
   4   annual report on Form 20-F/A for the year ended December 31, 2019 (the “2019
   5   Annual Report”). Attached to the 2019 Annual Report were certifications pursuant
   6   to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by defendants Paardenkooper
   7   and Syed attesting to the accuracy of financial reporting, the disclosure of any
   8   material changes to the Company’s internal control over financial reporting, and
   9   the disclosure of all fraud.
  10            36.   The 2019 Annual Report contained the following chart:
  11
  12
  13
  14
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  21
  22            37.   This statement was materially false and misleading at the time it was
  23   made because, as Defendants knew, Brooge’s revenue for 2019 was materially
  24   lower than $44,085,374.
  25            38.   The 2019 Annual Report contained the following statement about
  26   BIA:
  27            BPGIC is currently reliant on Al Brooge International Advisory LLC for
                the majority of its revenues and any material non-payment or non-
  28
  29                                             9
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   1         performance by Al Brooge International Advisory LLC would have a
             material adverse effect on BPGIC’s business, financial condition and
   2         results of operations.
   3
             Phase I of the BPGIC Terminal consists of 14 oil storage tanks with an
   4         aggregate geometric oil storage capacity of approximately 0.399 million
   5         m3 and related infrastructure (“Phase I”). On December 12, 2017, BPGIC
             entered into a five-year lease and service agreement (the “Phase I End User
   6         Agreement”) with an international energy trading company (the “Initial
   7         Phase I End User”). BPGIC’s revenues historically depended solely on the
             fees it received pursuant to the Phase I End User Agreement which were
   8
             comprised of (i) a monthly fixed fee to lease BPGIC’s Phase I storage
   9         capacity (regardless of whether the Initial Phase I End User used any storage
  10         capacity) and (ii) monthly variable fees based on the Initial Phase I End
             User’s usage of the following ancillary services: throughput, blending,
  11         heating and inter-tank transfers.
  12
             In August 2019, with the approval of the Initial Phase I End User, BPGIC
  13         restructured its relationship with the Initial Phase I End User by entering into
  14         a four-year lease and offtake agreement (the “Phase I Customer
             Agreement”) with Al Brooge International Advisory LLC (“BIA”), for the
  15
             Phase I facility. After entering the Phase I Customer Agreement, BIA
  16         assumed BPGIC’s rights and obligations under the Phase I End User
  17         Agreement. Subsequently, in May 2020, BIA agreed to release 129,000
             m3 of the Phase I capacity, amounting to approximately one third of the total
  18         Phase I capacity, back to BPGIC. BPGIC leased this capacity to, Totsa Total
  19         Oil Trading SA (the “Super Major”), for a 6 month period (the “Super
             Major Agreement”) subject to renewal for an additional 6 month period
  20         with the mutual agreement of the parties.
  21
             Accordingly, a majority of BPGIC’s revenues for the immediate future are
  22         expected to consist of the fees it receives pursuant to the Phase I Customer
  23         Agreement which are comprised of (i) a monthly fixed fee to lease
             approximately two thirds of BPGIC’s Phase I storage capacity (regardless
  24
             of whether BIA uses any storage capacity) and (ii) monthly variable fees
  25         based on BIA’s, or its sublessees’, usage of the following ancillary services:
  26         throughput, blending, heating and inter-tank transfers.

  27         The terms of the Phase I Customer Agreement allow BIA to sublease,
  28         subject to BPGIC’s prior approval, the use of Phase I’s facilities. In 2020,
  29                                            10
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   1         BIA subleased the use of the Phase I facility to multiple international and
             regional end users. Under the Phase I Customer Agreement, BIA still retains
   2         the obligation to pay any outstanding amounts due, including if a sublessee
   3         were to fail to make any payments owed to it. There can be no assurance that
             in the event of a non-payment by one or more of the Phase I end users, of
   4         amounts owed to BIA, that BIA would honor its obligation to pay any
   5         outstanding amounts due to BPGIC.
   6         39.   This statement was materially false and misleading because BIA did
   7   not ever actually store any oil with Brooge, and engaged in a complicated set of
   8   back and forth transactions with Brooge to make it appear that BIA was paying
   9   Brooge, when it was not.
  10         40.   The 2019 Annual Report contained the following in its section on
  11   related party transactions:
              BIA was partially owned by Mrs. Hind Muktar. Mrs. Hind Muktar is also a
  12          limited partner of H Capital International LP and the sole shareholder of
  13          Gyan Investments Limited, the general partner of H Capital International
              LP.
  14
  15         The Phase I Customer Agreement provides for BIA to lease approximately
  16         two thirds of the total storage capacity of the Phase I facility for a fixed fee
             per cubic meter per month payable in advance on a monthly basis. The Phase
  17         I Customer Agreement also provides that BIA shall pay BPGIC a fixed fee
  18         per cubic meter per month for product throughput with a supplementary fee
             per metric ton of throughput in excess of agreed volume, a fixed blending
  19         fee per cubic meter per month, a fixed inter tank transfer fee per cubic meter
  20         per month, and a fixed heating fee per cubic meter per month. Further,
             BPGIC is entitled to pass through any tariffs, additional charges or fees
  21
             imposed by the Port of Fujairah. BPGIC is entitled to review and seek to
  22         amend the fees every two years. This adjustment can result only in the fees
  23         remaining constant or increasing. The Company and BPGIC believe that the
             terms of this agreement are no less favorable to BPGIC than would result
  24         from a similar transaction with an unaffiliated third party. BIA is only
  25         allowed to sublease the Phase I storage tanks with BPGIC’s prior approval.
             H Capital International LP is a minority stakeholder in BPGIC and after sale
  26         of Mrs. Muktar’s shares in BIA, BIA is no longer a related party.
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   1         The Phase II Customer Agreement provides for BIA to lease all eight Phase
             II storage tanks for a fixed fee per cubic meter per month payable in advance
   2         on a monthly basis. The Phase II Customer Agreement also provides that
   3         BIA shall pay BPGIC a fixed fee per cubic meter per month for product
             throughput with a supplementary fee per metric ton of throughput in excess
   4         of agreed volume, a fixed blending fee per cubic meter per month, a fixed
   5         inter tank transfer fee per cubic meter per month, and a fixed heating fee per
             cubic meter per month. Further, BPGIC is entitled to pass through any
   6         tariffs, additional charges or fees imposed by the Port of Fujairah. BPGIC is
   7         entitled to review and seek to amend the fees every two years. This
             adjustment can result only in the fees remaining constant or increasing. The
   8
             Company and BPGIC believe that the terms of this agreement are no less
   9         favorable to BPGIC than would result from a similar transaction with an
  10         unaffiliated third party. BIA is only allowed to sublease the Phase II storage
             tanks with BPGIC’s prior approval. H Capital International LP is a
  11         minority stakeholder in BPGIC and after sale of Mrs. Muktar’s shares in
  12         BIA, BIA is no longer a related party.
  13         The Refinery Agreement provides that BIA and BPGIC will use their best
  14         efforts to finalize the technical and design feasibility studies for the BIA
             Refinery, a refinery with a capacity of 25,000 bpd. The parties further agreed
  15
             to negotiate, within 30 days, the Refinery Operations Agreement, a sublease
  16         agreement and a joint venture agreement to govern the terms on which
  17         BPGIC will sublease land to BIA to locate, BIA will construct, and BPGIC
             will operate the refinery. Due to the COVID-19 pandemic, the parties agreed
  18         to extend the period for their negotiations until August 4, 2020. BPGIC and
  19         BIA are still negotiating the Refinery Operations Agreement, however
             BPGIC expects that BIA will finance and arrange the development,
  20         construction and commissioning of a modular refinery on a parcel of
  21         BPGIC’s remaining unutilized land and will pay an ancillary service fee in
             connection with any ancillary services it uses. BPGIC believes that the terms
  22         of this agreement will be no less favorable to BPGIC than would result from
  23         a similar transaction with an unaffiliated third party. H Capital
             International LP is a minority stakeholder in BPGIC and following a
  24
             planned sale of Mrs. Muktar’s shares in BIA, BIA is no longer be a related
  25         party.
  26
             (Emphasis added).
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  29                                           12
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  30                         THE FEDERAL SECURITIES LAWS
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   1         41.   The statements in paragraph 40 were materially false and misleading
   2   because they understated the extent to which BIA was a related party to Brooge.
   3   Specifically, Brooge representatives opened bank accounts on behalf of BIA, and
   4   BIA conducted no meaningful business operations other than a series of fraudulent
   5   transactions designed to create the illusion that Brooge was incurring significant
   6   revenues when in fact, BIA never used Brooge’s services or actually paid it.
   7         42.   The 2019 Annual Report contained the following statement on the
   8   Company’s internal controls:
   9
             In connection with the preparation of the Company’s consolidated
  10         financial statements as of and for the years ended December 31, 2017,
  11         2018 and 2019, the Company and its independent registered public
             accounting firm identified two material weaknesses in the Company’s
  12         internal control over financial reporting, one related to lack of sufficient
  13         skilled personnel and one related to lack of sufficient entity level and
             financial reporting policies and procedures.
  14         Prior to the consummation of the Business Combination, the Company was
  15         neither a publicly listed company, nor an affiliate or a consolidated
             subsidiary of, a publicly listed company, and it has had limited accounting
  16
             personnel and other resources with which to address its internal controls and
  17         procedures. Effective internal control over financial reporting is necessary
  18         for it to provide reliable financial reports and, together with adequate
             disclosure controls and procedures, are designed to prevent fraud.
  19
  20         In connection with the preparation and external audit of the Company’s
  21         financial statements as of and for the years ended December 31, 2017 and
             December 31, 2018, the Company and our auditors, noted material
  22         weaknesses in the Company’s internal control over financial reporting. The
  23         Public Company Accounting Oversight Board has defined a material
             weakness as a deficiency, or a combination of deficiencies, in internal
  24
             control over financial reporting, such that there is a reasonable possibility
  25         that a material misstatement of the Company’s financial statements will not
  26         be prevented or detected on a timely basis.

  27         The material weaknesses identified were (1) a lack of sufficient skilled
  28         personnel with requisite IFRS and SEC reporting knowledge and experience
  29                                           13
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  30                          THE FEDERAL SECURITIES LAWS
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   1         and (2) a lack of sufficient entity level and financial reporting policies and
             procedures that are commensurate with IFRS and SEC reporting
   2         requirements. These material weaknesses remain as of December 31, 2019.
   3
             The Company was not required to perform an evaluation of internal control
   4         over financial reporting as of December 31, 2019, December 31, 2018 or
   5         December 31, 2017 in accordance with the provisions of the Sarbanes-
             Oxley Act. Had such an evaluation been performed, additional control
   6         deficiencies may have been identified by the Company’s management, and
   7         those control deficiencies could have also represented one or more material
             weaknesses.
   8
   9         The Company’s auditors did not undertake an audit of the effectiveness of
  10         its internal controls over financial reporting. The Company’s independent
             registered public accounting firm will not be required to report on the
  11         effectiveness of their respective internal controls over financial reporting
  12         pursuant to Section 404(b) of the Sarbanes-Oxley Act of 2002 until the
             Company’s first annual report on Form 20-F following the date on which it
  13         ceases to qualify as an “emerging growth company,” which may be up to
  14         five full fiscal years following the date of the Closing. The process of
             assessing the effectiveness of the Company’s internal control over financial
  15
             reporting may require the investment of substantial time and resources,
  16         including by members of the Company’s senior management. As a result,
  17         this process may divert internal resources and take a significant amount of
             time and effort to complete. In addition, the Company cannot predict the
  18         outcome of this determination and whether the Company will need to
  19         implement remedial actions in order to implement effective control over
             financial reporting. If in subsequent years the Company is unable to assert
  20         that the Company’s internal control over financial reporting is effective, or
  21         if the Company’s auditors express an opinion that the Company’s internal
             control over financial reporting is ineffective, the Company could lose
  22         investor confidence in the accuracy and completeness of their financial
  23         reports, which could have a material adverse effect on the price of the
             Company’s securities. Since the date of the Original Form 20-F, the
  24
             Company has implemented measures to address the material weaknesses,
  25         including (i) hiring personnel with relevant public reporting experience, (ii)
  26         conducting training for Company personnel with respect to IFRS and SEC
             financial reporting requirements and (iii) engaging a third party to prepare
  27         standard operating procedures for the Company. In this regard, the Company
  28         has, and will need to continue to, dedicate internal resources, recruit
  29                                           14
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  30                         THE FEDERAL SECURITIES LAWS
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   1         personnel with public reporting experience, potentially engage additional
             outside consultants and adopt a detailed work plan to assess and document
   2         the adequacy of their internal control over financial reporting. This has, and
   3         may continue to, include taking steps to improve control processes as
             appropriate, validating that controls are functioning as documented and
   4         implementing a continuous reporting and improvement process for internal
   5         control over financial reporting.
   6         43.    This statement was materially false and misleading because it
   7   materially understated the extent of the Company’s internal controls issues.
   8         44.    On April 6, 2021, the Company filed with the SEC its amended annual
   9   report on Form 20-F/A for the year ended December 31, 2020 (the “2020 Annual
  10   Report”). Attached to the 2020 Annual Report were certifications pursuant to SOX
  11   signed by defendants Paardenkooper and Syed attesting to the accuracy of financial
  12   reporting, the disclosure of any material changes to the Company’s internal control
  13   over financial reporting, and the disclosure of all fraud.
  14         45.    The 2020 Annual Report contained the following chart:
  15
  16
  17
  18
  19
  20
  21
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  24
  25         46.    This statement was materially false and misleading at the time it was
  26   made because, as Defendants knew, Brooge’s revenue for 2020 was materially
  27   lower than $41,831,537.
  28
  29                                             15
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  30                          THE FEDERAL SECURITIES LAWS
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   1         47.   The 2020 Annual Report contained the following in its section on
   2   related party transactions:
   3          BIA was partially owned by Mrs. Hind Muktar who is also a limited partner
              of H Capital International LP and the sole shareholder of Gyan Investments
   4          Limited, the general partner of H Capital International LP.
   5
             The Phase I Customer Agreement provides for BIA to lease approximately
   6         two thirds of the total storage capacity of the Phase I facility for a fixed fee
   7         per cubic meter per month payable in advance on a monthly basis. The Phase
             I Customer Agreement also provides that BIA shall pay BPGIC a fixed fee
   8         per cubic meter per month for product throughput with a supplementary fee
   9         per metric ton of throughput in excess of agreed volume per year, a fixed
             blending fee per cubic meter per month, a fixed inter tank transfer fee per
  10
             cubic meter per month, and a fixed heating fee per cubic meter per month.
  11         Further, BPGIC is entitled to pass through any tariffs, additional charges or
  12         fees imposed by the Port of Fujairah. BPGIC is entitled to review and seek
             to amend the fees every two years. This adjustment can result only in the
  13         fees remaining constant or increasing. The Company believes that the terms
  14         of this agreement are no less favorable to BPGIC than would result from a
             similar transaction with an unaffiliated third party. BIA is only allowed to
  15         sublease the Phase I storage tanks with BPGIC’s prior approval. H Capital
  16         International LP is a minority shareholder in the Company, and following
             the sale of Mrs. Muktar’s shares in BIA, BIA is no longer a related party.
  17
  18         The Phase II Customer Agreement provides for BIA to lease all eight Phase
  19         II storage tanks for a fixed fee per cubic meter per month payable in advance
             on a monthly basis. The Phase II Customer Agreement also provides that
  20         BIA shall pay BPGIC a fixed fee per cubic meter per month for product
  21         throughput in excess of agreed volume, a fixed blending fee per cubic meter
             per month, a fixed inter tank transfer fee per cubic meter per month, and a
  22         fixed heating fee per cubic meter per month. Further, BPGIC is entitled to
  23         pass through any tariffs, additional charges or fees imposed by the Port of
             Fujairah. BPGIC is entitled to review and seek to amend the fees every two
  24         years. This adjustment can result only in the fees remaining constant or
  25         increasing. The Company believes that the terms of this agreement are no
             less favorable to BPGIC than would result from a similar transaction with
  26
             an unaffiliated third party. BIA is only allowed to sublease the Phase II
  27         storage tanks with BPGIC’s prior approval. H Capital International LP is
  28
  29                                            16
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   1         a minority shareholder in the Company, and following the sale of Mrs.
             Muktar’s shares in BIA, BIA is no longer a related party.
   2
   3         The Refinery Agreement provides that BIA and BPGIC will use their best
             efforts to finalize the technical and design feasibility studies for the BIA
   4         Refinery, a refinery with a capacity of 25,000 b/d. The parties further agreed
   5         to negotiate, within 30 days, the Refinery Operations Agreement, a sublease
             agreement and a joint venture agreement to govern the terms on which
   6         BPGIC will sublease land to BIA to locate, BIA will construct, and BPGIC
   7         will operate the refinery. The parties have agreed to extend the period for
             their negotiations until the Second Quarter of 2021. BPGIC and BIA are still
   8
             negotiating the Refinery Operations Agreement, however BPGIC expects
   9         that BIA will finance and arrange the development, construction and
  10         commissioning of a modular refinery on a parcel of BPGIC’s remaining
             unutilized land and will pay an ancillary service fee in connection with any
  11         ancillary services it uses. The Company and BPGIC believe that the terms
  12         of this agreement will be no less favorable to BPGIC than would result from
             a similar transaction with an unaffiliated third party. H Capital
  13         International LP is a minority shareholder in BPGIC, and following the
  14         sale of Mrs. Muktar’s shares in BIA, BIA is no longer a related party.
  15
             (Emphasis added).
  16         48.   The statements in paragraph 47 were materially false and misleading
  17   because they understated the extent to which BIA was a related party to Brooge.
  18   Specifically, Brooge representatives opened bank accounts on behalf of BIA, and
  19   BIA conducted no meaningful business operations other than a series of fraudulent
  20   transactions designed to create the illusion that Brooge was incurring significant
  21   revenues when in fact, BIA never used Brooge’s services or actually paid it.
  22         49.   The 2020 Annual Report contained the following statement on the
  23   Company’s internal controls:
  24       In connection with the preparation of the Company’s consolidated
  25       financial statements as of and for the years ended December 31, 2017,
           2018, 2019 and 2020, the Company and its independent registered public
  26       accounting firm identified two material weaknesses in the Company’s
  27       internal control over financial reporting, one related to lack of sufficient
  28
  29                                           17
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   1         skilled personnel and one related to lack of sufficient entity level and
             financial reporting policies and procedures.
   2
   3         Prior to the consummation of the Business Combination, the Company was
             neither a publicly listed company, nor an affiliate or a consolidated
   4         subsidiary of, a publicly listed company, and it has had limited accounting
   5         personnel and other resources with which to address its internal controls and
             procedures. Effective internal control over financial reporting is necessary
   6         for the Company to provide reliable financial reports and, together with
   7         adequate disclosure controls and procedures, are designed to prevent fraud.
   8         In connection with the preparation and external audit of the Company’s
   9         financial statements as of and for the years ended December 31, 2017, 2018,
  10         2019 and 2020, the Company and our auditors, noted material weaknesses
  11         in the Company’s internal control over financial reporting. The SEC defines
  12         a material weakness as a deficiency, or a combination of deficiencies, in
  13         internal control over financial reporting, such that there is a reasonable
  14         possibility that a material misstatement of the Company’s financial
  15         statements will not be prevented or detected on a timely basis.
             The material weaknesses identified were (i) a lack of sufficient skilled
  16
             personnel with requisite IFRS and SEC reporting knowledge and experience
  17         and (ii) a lack of sufficient entity level and financial reporting policies and
  18         procedures that are commensurate with IFRS and SEC reporting
             requirements. During the year 2020, the Company took the steps below to
  19         minimize the effects of both these material weaknesses:
  20
                • The Company appointed a new chief financial officer and other
  21              finance personnel with relevant public reporting experience and also
  22              conducted trainings for new employees with respect to IFRS and SEC
                  reporting requirements; and
  23
                • The Company appointed a third party consultant to prepare the
  24              processes of financial reporting and help the Company to implement
  25              them, and the consultant is in the final stages of finalizing the
                  processes.
  26
             In this regard, the Company has, and will need to continue to, dedicate
  27
             internal resources, recruit more personnel with public reporting experience,
  28
  29                                            18
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  30                          THE FEDERAL SECURITIES LAWS
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   1         potentially engage additional outside consultants and adopt a detailed work
             plan to assess and document the adequacy of its internal control over
   2         financial reporting. This has, and may continue to, include taking steps to
   3         improve control processes as appropriate, validating that controls are
             functioning as documented and implementing a continuous reporting and
   4         improvement process for internal control over financial reporting.
   5
             The Company’s auditors did not undertake an audit of the effectiveness of
   6         its internal control over financial reporting. The Company’s independent
   7         registered public accounting firm will not be required to report on the
             effectiveness of the Company’s internal control over financial reporting
   8
             pursuant to Section 404(b) of the Sarbanes-Oxley Act until the Company’s
   9         first Annual Report on Form 20-F following the date on which it ceases to
  10         qualify as an “emerging growth company,” which may be up to five full
             fiscal years following the date of the Company’s initial sale of common
  11         equity pursuant to a registration statement declared effective under the
  12         Securities Act. The process of assessing the effectiveness of the Company’s
             internal control over financial reporting may require the investment of
  13         substantial time and resources, including by members of the Company’s
  14         senior management. As a result, this process may divert internal resources
             and take a significant amount of time and effort to complete. In addition, the
  15
             Company cannot predict the outcome of this determination and whether the
  16         Company will need to implement remedial actions in order to implement
  17         effective control over financial reporting. If in subsequent years the
             Company is unable to assert that the Company’s internal control over
  18         financial reporting is effective, or if the Company’s auditors express an
  19         opinion that the Company’s internal control over financial reporting is
             ineffective, the Company could lose investor confidence in the accuracy and
  20         completeness of its financial reports, which could have a material adverse
  21         effect on the price of the Company’s securities.
  22         50.    This statement was materially false and misleading because it
  23   materially understated the extent of the Company’s internal controls issues, as well
  24   as overstated the effectiveness of the Company’s remediation efforts.
  25         51.    Due to the extent of the Company’s issues, it never actually filed a
  26   2021 Annual Report on Form 20-F with the SEC. On April 27, 2022, the Company
  27   filed a late filing notice on Form NT 20-F, and then an amended late filing notice
  28   on Form NT 20-F/A on May 3, 2022.
  29                                            19
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  30                          THE FEDERAL SECURITIES LAWS
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   1         52.    On April 26, 2023, the Company filed with the SEC its amended
   2   annual report on Form 20-F for the year ended December 31, 2022 (the “2022
   3   Annual Report”). Attached to the 2022 Annual Report were certifications pursuant
   4   to SOX signed by defendants Saheb and Ditchburn attesting to the accuracy of
   5   financial reporting, the disclosure of any material changes to the Company’s
   6   internal control over financial reporting, and the disclosure of all fraud.
   7         53.    Three amendments were filed to the 2022 Annual Report on May 1,
   8   2023, May 2, 2023, and May 2, 2023, respectively, in order to add exhibits to the
   9   2022 Annual Report.
  10         54.    The 2022 Annual Report contained the following statement regarding
  11   an SEC Investigation:
  12
             The Company is currently the subject of an investigation by the staff of the
  13         SEC.
  14
             The Company is currently the subject of an investigation by the staff of the
  15         SEC concerning issues related to the Company’s prior revenue
  16         recognition and financial reporting practices and disclosures, its prior
             systems of internal controls, and certain of its past dealings with or
  17         communications to previous independent auditors. Among other things,
  18         the SEC investigation concerns matters identified during an internal
             examination performed at the instance of the Company’s Audit Committee,
  19
             which produced certain preliminary findings that caused the Company to
  20         withdraw reliance on its previously-issued financial statements for certain
  21         earlier periods.

  22         As noted, the SEC investigation is ongoing. The Company is currently
  23         unable to predict with any reasonable degree of certainty whether the
             investigation will lead to claims by the SEC against the Company or any
  24         of its present or former personnel. The Company is also unable to predict
  25         with any reasonable degree of certainty the likelihood of a favorable or
             unfavorable outcome if any claims are asserted by the SEC related to these
  26
             matters. Further, the Company is unable to predict with any reasonable
  27         degree of certainty the likelihood of a favorable or unfavorable outcome if
  28         the SEC does assert such claims, or the precise character of any potential

  29                                             20
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   1         findings against or sanctions imposed on the Company to the extent the
             investigation produces an enforcement proceeding that results in an
   2         unfavorable outcome.
   3
             (Emphasis added).
   4
             55.    This statement was materially misleading because it understated the
   5
       degree of the Company’s culpability, considering that the Company had fabricated
   6
       revenues, lied to its auditors, and lied to the SEC during its investigation.
   7
             56.    The 2022 Annual Report contained the following statement on the
   8
       Company’s internal controls:
   9       In connection with the preparation of the Company’s consolidated
  10       financial statements as of and for the years ended December 31, 2019,
           2020, 2021 and 2022, the Company and its independent registered public
  11       accounting firm identified two material weaknesses in the Company’s
  12       internal control over financial reporting, one related to lack of sufficient
           skilled personnel and one related to lack of sufficient entity level and
  13
           financial reporting policies and procedures.
  14
  15         Prior to the consummation of the Business Combination, the Company was
             neither a publicly listed company, nor an affiliate or a consolidated
  16         subsidiary of, a publicly listed company, and it has had limited accounting
  17         personnel and other resources with which to address its internal controls and
             procedures. Effective internal control over financial reporting is necessary
  18         for the Company to provide reliable financial reports and, together with
  19         adequate disclosure controls and procedures, are designed to prevent fraud.
  20
             In connection with the preparation and external audit of the Company’s
  21         financial statements as of and for the years ended December 31, 2019, 2020,
  22         2021 and 2022, the Company and our auditors, noted material weaknesses
             in the Company’s internal control over financial reporting. The SEC defines
  23         a material weakness as a deficiency, or a combination of deficiencies, in
  24         internal control over financial reporting, such that there is a reasonable
             possibility that a material misstatement of the Company’s financial
  25         statements will not be prevented or detected on a timely basis.
  26         The material weaknesses identified were (i) a lack of sufficient skilled
             personnel with requisite IFRS and SEC reporting knowledge and experience
  27         and (ii) a lack of sufficient entity level and financial reporting policies and
  28
  29                                             21
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   1         procedures that are commensurate with IFRS and SEC reporting
             requirements. During the years 2020, 2021, and 2022, the Company took the
   2         steps below to minimize the effects of both these material weaknesses:
   3
                • The Company appointed a new chief financial officer and other
   4                finance personnel with relevant public reporting experience and also
   5                conducted trainings for new employees with respect to IFRS and SEC
                    reporting requirements; and
   6
                • The Company appointed a third party consultant to prepare the
   7                processes of financial reporting and help the Company to implement
   8                them.
             In this regard, the Company has, and is continuing to, dedicate internal
   9         resources, training their personnel with public reporting experience, and
  10         ensure that outside consultants adopted a detailed work plan to assess and
             document the adequacy of its internal control over financial reporting. This
  11         has, and may continue to, include taking steps to improve control processes
  12         as appropriate, validating that controls are functioning as documented and
             implementing a continuous reporting and improvement process for internal
  13
             control over financial reporting.
  14
  15         The Company’s auditors did not undertake an audit of the effectiveness of
             its internal control over financial reporting. The Company’s independent
  16         registered public accounting firm will not be required to report on the
  17         effectiveness of the Company’s internal control over financial reporting
             pursuant to Section 404(b) of the Sarbanes-Oxley Act until the Company’s
  18         first Annual Report on Form 20-F following the date on which it ceases to
  19         qualify as an “emerging growth company,” which may be up to five full
             fiscal years following the date of the Company’s initial sale of common
  20         equity pursuant to a registration statement declared effective under the
  21         Securities Act. The process of assessing the effectiveness of the Company’s
             internal control over financial reporting may require the investment of
  22
             substantial time and resources, including by members of the Company’s
  23         senior management. As a result, this process may divert internal resources
  24         and take a significant amount of time and effort to complete. In addition, the
             Company cannot predict the outcome of this determination and whether the
  25         Company will need to implement remedial actions in order to implement
  26         effective control over financial reporting. If in subsequent years the
             Company is unable to assert that the Company’s internal control over
  27         financial reporting is effective, or if the Company’s auditors express an
  28         opinion that the Company’s internal control over financial reporting is
  29                                           22
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  30                         THE FEDERAL SECURITIES LAWS
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   1         ineffective, the Company could lose investor confidence in the accuracy and
             completeness of its financial reports, which could have a material adverse
   2         effect on the price of the Company’s securities.
   3         57.    This statement was materially false and misleading because it
   4   materially understated the extent of the Company’s internal controls issues, as well
   5   as overstated the effectiveness of the Company’s remediation efforts.
   6         58.    The statements contained in ¶¶ 26, 27, 29, 31, 33, 35, 36, 38, 40, 42,
   7   44, 45, 47, 49, 52, 54, and 56 were materially false and/or misleading because they
   8   misrepresented and failed to disclose the following adverse facts pertaining to the
   9   Company’s business, operations and prospects, which were known to Defendants
  10   or recklessly disregarded by them. Specifically, Defendants made false and/or
  11   misleading statements and/or failed to disclose that: (1) Brooge materially
  12   overstated its revenues because it never received any revenues from BIA, as well
  13   as another fictitious customer; (2) Brooge engaged in a complex pattern of
  14   payments with BIA to create the illusion of revenues from BIA and another
  15   customer that had no knowledge of the fraud; (3) Brooge intentionally lied to its
  16   auditors and the Securities and Exchange Commission about its fraudulent
  17   activities; (4) Brooge lacked internal controls; and (5) as a result, Defendants’
  18   statements about its business, operations, and prospects, were materially false and
  19   misleading and/or lacked a reasonable basis at all relevant times.
  20                           THE TRUTH BEGINS TO EMERGE
  21         59.    On December 22, 2023, the SEC posted a release on its website
  22   entitled “SEC Charges UAE-Based Brooge Energy and Former Executives with
  23   Fraud.” Attached to this release was an order instituting cease-and-desist
  24   proceedings, pursuant to Section 8A of the Securities Act of 1933 and Section 21C
  25   of the Securities Exchange Act of 1934, Making Findings, and Imposing a Cease-
  26   And-Desist Order (the “SEC Order” or the “Order”).
  27
  28
  29                                            23
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   1            60.   The SEC Order provided more context and detail on the restated
   2   revenue figures that the Company first announced in its 2022 Annual Report. The
   3   restated figures, as stated in the Order, were as follows:
   4
   5
   6
   7
   8
   9            61.   The SEC Order stated that “Brooge went public through a [SPAC]
  10   transaction in December 2019. Further, “[b]efore and after going public between
  11   thirty (30) and eighty (80) percent of Brooge’s revenues were unsupported and
  12   materially misstated from 2018 through early 2021[.]” (Emphasis added).
  13            62.   The SEC Order defined the “Relevant Period” as “from 2018 through
  14   early 2021.”
  15            63.   The SEC Order further noted that, subsequent to the SPAC
  16   transaction, Brooge “registered the offer and sale of up to $500 million in different
  17   types of securities with the Commission and an affiliate of the company issued
  18   $200 million of 5-year senior secured bonds in the Nordic bond market.”
  19            64.   The SEC contained the following about the mechanics of Brooge’s
  20   fraud:
  21            The crux of the fraud was the creation of two sets of invoices. The first
                consisted of actual invoices to customers who stored oil at Brooge’s facilities
  22            in Fujairah. Customers paid these invoices in the ordinary course. A second
  23            set of invoices which reflected significantly higher rates and volumes were
                ostensibly sent to customers who never used Brooge’s facilities. These
  24            invoices were “paid” through a complicated series of unsupported
  25            transactions involving an affiliated or related party. Brooge’s former
                [CEO] Paardenkooper and former [CSO and Interim CEO], Saheb (together
  26            “Senior Management”) knew, or were reckless in not knowing, of the
  27            accounting fraud.”
  28
  29                                               24
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  30                             THE FEDERAL SECURITIES LAWS
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   1         (Emphasis added).

   2         65.    The SEC Order detailed how Brooge misled its auditors regarding its
   3   true revenues. Specifically, it stated that “[c]ertain personnel reporting to Senior
   4   Management provided Brooge’s outside auditors with only the second set of
   5   invoices along with falsified ledger entries and other documents designed to
   6   support the inflated rates and volumes on the false second set of invoices.”
   7
       (Emphasis added).
   8
             66.    In addition to the false second set of invoices that were already
   9
       mentioned, the SEC order stated that “in order to avoid an event of default on the
  10
       Nordic bonds, an affiliate of the company created a third set of unsupported
  11
       invoices, and certain persons at the company directed the creation of additional
  12
       false documents during the pendency of our investigation.” (Emphasis added).
  13
             67.    As detailed in the SEC Order, investors have been misled since before
  14
       the SPAC Merger was closed:
  15
             On April 15, 2019, Brooge and [BPGIC Subsidiary] entered into a
  16
             Business Combination Agreement with a SPAC that had raised $180
  17         million in an initial public offering. On November 25, 2019, the SPAC filed
  18         a proxy statement that included historical financial information for
             [BPGIC Subsidiary]. According to those proxy materials, [BPGIC
  19         Subsidiary’s] revenues were $35.839 million for 2018 and $22.042 for the
  20         six months ended June 30, 2019 - figures that were overstated. After
             receiving BPGIC’s historical and projected financial performance, the
  21         SPAC placed a value on the proposed transaction of approximately one
  22         billion dollars.
  23
             (Emphasis added).
  24
  25         68.    The SEC Order further stated that those false revenue figures “were

  26   used during roadshows in the United States to market the SPAC merger to

  27   investors.” The SEC noted that “[o]n December 19, 2019, the business combination
  28   closed with a share price of $10.32. The vast majority of SPAC shareholders
  29                                            25
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   1   redeemed their shares for cash and, as a result, the new entity Brooge received only

   2   $16.7 from the transaction.” Further, the SEC Order stated that “[a]s a result of the

   3   inflated financials, BPGIC [Subsidiary] was able to support a higher share price
   4   for the business combination.”
   5         69.    The Order further noted the following:
   6         During the Relevant Period, Brooge represented to investors, bankers and
             auditors that it had a single customer contractually obligated to rent 100% of
   7
             its storage capacity and certain other services at specific rates, thereby
   8         producing revenue of approximately $44 million per year. In reality, actual
   9         customers used a smaller portion of the storage capacity and almost no
             ancillary services, at rates lower than those specified in the single-
  10         customer contract. The difference was addressed through an accounting
  11         scheme that relied upon a false second set of invoices. From December 2017
             until at least December 2020, Brooge improperly recognized revenues by
  12         issuing invoices to two customers, Customer A and Al Brooge
  13         International Advisory LLC (“BIA”).
  14         (Emphasis added).
  15
             70.    The Order noted that Customer A was a “private company [. . .] that
  16
  17   purports to be in the business of buying and selling crude oil.” On December 12,

  18   2017, “[BPGIC Subsidiary] entered into an agreement pursuant to which customer

  19   A leased [the entirety of] [BPGIC Subsidiary’s] storage capacity” in a deal that was
  20   to be for “five years at a monthly rate of $5.00 per cubic meter for storage and
  21   $1.70 for certain ancillary services.” The Order noted that this agreement “formed
  22   the basis of the company’s cash flow projections”, but that “Customer A never
  23   stored any oil and never paid anything to [BPGIC Subsidiary].” (Emphasis
  24   added).
  25         71.    Rather than lease its entire storage capacity to Company A, the Order
  26   noted that “[BPGIC Subsidiary] provided services to oil and gas companies that
  27
  28
  29                                            26
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   1   used its storage facility but at significantly lower rates and volumes than those

   2   reflected in the contract with Customer A.” (Emphasis added).

   3         72.   The SEC Order than detailed how, in order to make it appear that
   4   Customer A was paying Brooge, a second set of over one hundred fake invoices
   5   were created and addressed to Customer A, and then the financial figures were
   6   manipulated.
   7         73.   Subsequently to creating the false invoices, Brooge did the following:
   8         To make it appear as if these invoices had been paid, [BPGIC Subsidiary]
   9         engaged in a series of complicated transactions with BIA, an affiliated or
             related party, pursuant to which BIA wrote checks to [BPGIC Subsidiary]
  10         and then [BPGIC Subsidiary] wrote checks for corresponding amounts to
  11         BIA. These were recorded in the company’s general ledger as payments by
             Customer A.
  12
  13         (Emphasis added).
  14         74.   The SEC Order stated that BIA, the company which participated in
  15   the scheme to create the illusion of payments from Customer A, “was a private
  16   company located in Abu Dhabi and an affiliated or related party of [BPGIC
  17   Subsidiary]. One of the owners of BIA was a shareholder in [BPGIC
  18   Subsidiary].” (Emphasis added). Furthermore, “[r]epresentatives of [BPGIC
  19   Subsidiary] opened bank accounts on behalf of BIA. BIA had no meaningful
  20   business operations aside form participating in the misstatements of revenues
  21
       associated with [BPGIC Subsidiary].” (Emphasis added).
  22
             75.   In addition to helping Brooge, through its subsidiary, create the false
  23
       impression of revenue from Customer A, BIA also assisted Brooge in its scheme
  24
       of using fake invoices to create the impression of revenue. The SEC Order stated
  25
       the following:
  26
             From August 2019 through at least December 2020, these improper
  27         accounting practices continued in largely the same manner, but with BIA
  28
  29                                          27
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   1         in the place of Customer A. In August 2019, [BPGIC Subsidiary]’s contract
             with Customer A was novated to BIA under similar terms, e.g., BIA was
   2         obligated to lease the full 399,324 cubic meter storage capacity of all
   3         fourteen (14) tanks at a monthly rate of $5.00 per cubic meter for storage
             and $1.70 for certain ancillary services. BIA never stored any oil with
   4         [BPGIC Subsidiary].
   5
             (Emphasis added).
   6
   7         76.   The SEC Order provided the following detail regarding the fraudulent
   8   invoices that were sent to BIA:
   9         [BPGIC Subsidiary] continued to provide services to oil and gas companies
  10         that used its storage facility but at significantly lower rates and volumes
             than those reflected in the contract novated to BIA. A second set of
  11         invoices addressed to BIA was created. These invoices reflected the same
  12         total amounts as the invoices sent to oil and gas companies that used the
             storage facility but at the contractual storage rate of $5.00 per cubic meter
  13         with storage quantities adjusted downward to make the math consistent.
  14         Certain of these invoices also re-characterized ancillary services as storage
             fees. In this manner, between August 2019 and December 2020, [BPGIC
  15
             Subsidiary] created over two hundred unsupported invoices addressed to
  16         BIA.
  17
             (Emphasis added).
  18
  19         77.   Further, the Company engaged in a series of fraudulent transactions
  20   to make it appear that BIA was engaging in business with BPGIC Subsidiary. The
  21   Order stated the following:
  22         As it had done previously with respect to Customer A, [BPGIC Subsidiary
             created invoices addressed to BIA to fill the gap in projected revenues.
  23
             [BPGIC Subsidiary] issued these invoices on a monthly basis from August
  24         2019 through at least December 2020. The majority were in amounts ranging
  25         from $1.5-to-$2.5 million. BIA did not store any oil with [BPGIC
             Subsidiary]. In order to make it appear as if these invoices were paid,
  26         BPGIC engaged in a complicated series of transactions pursuant to which
  27         BIA wrote checks to [BPGIC Subsidiary] and then [BPGIC Subsidiary]
             wrote checks in similar amounts to BIA.
  28
  29                                           28
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   1
              (Emphasis added).
   2
   3          78.   The fraud didn’t stop there. The SEC Order detailed how there was a
   4   third set of unsupported invoices, in addition to those involving Customer A and
   5   BIA:
   6          [. . .] [I]n May and June 2021, Brooge created another set of unsupported
              invoices to avoid a potential event of default on the Nordic bonds. These
   7
              invoices were addressed-but never sent- to real customers and reflected
   8          charges for ancillary services far in excess of actual usage rates. The result
   9          was that Brooge’s revenues and EBITDA were artificially inflated for the
              six months ended June 30, 2021.
  10
  11          (Emphasis added).
  12          79.   Further, the Company lied to its auditors. The SEC Order stated the
  13   following:
  14          Senior Management and persons acting at their direction concealed the
  15          inflated revenues from the company’s outside auditors, E&Y and PwC.
              Outside auditors were provided with contracts and false invoices to
  16
              Customer A and BIA, but the company did not provide them contracts and
  17          invoices with actual customers. Additionally, numerous false entries to the
  18          company’s general ledger were made and then provided to the outside
              auditors.
  19
  20          [BPGIC Subsidiary] provided false audit evidence requested by E&Y and
              PwC as part of their invoice testing. This included the fabrication of emails
  21          and “customer order forms.” These efforts were intended to make it appear
  22          as if the company had business communications with Customer A or BIA
              when it had not. This was done when E&Y selected a handful of Customer
  23
              A and BIA invoices for testing during the 2018 and 2019 audits and when
  24          PwC requested backup support for ancillary services revenue from BIA
  25          during the 2020 audit. The false materials provided to PwC include charts
              purporting to show which vessels were delivering oil in Fujairah, UAE, on
  26          specific dates. In reality, those vessels were scattered throughout the world,
  27          including off the coasts of India, Indonesia, Egypt, West Africa, and in the
              Gulf of Mexico.
  28
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   1
             (Emphasis added).
   2
   3         80.    The SEC Order stated the following about Defendant Paardenkooper:
   4         Paardenkooper signed management representation letters representing that
             the company had “made available to [the outside auditors] all significant
   5         contracts, communications (either written or oral), and other related
   6         information pertaining to arrangements with customers” and confirmation
             letters attesting falsely to account receivable balances from Customer A and
   7
             BIA.
   8
   9         81.    The SEC Order revealed that Brooge employees took additional steps

  10   to cover up the accounting fraud from SEC staff, once the SEC began to investigate.

  11   Specifically, “[a]t the direction of Senior Management, Brooge employees created
  12   three categories of false documents which were provided to Commission staff
  13   during the investigation.” (Emphasis added).
  14         82.    On this news, the price of Brooge stock declined by $0.62, or 15.66%,
  15   to close at $3.34 on December 22, 2023. The next trading day, it fell by a further
  16   $0.37, or 11.08%, to close at $2.97 on December 26, 2023.
  17         83.    As a result of Defendants’ wrongful acts and omissions, and the
  18   precipitous decline in the market value of the Company’s common shares, Plaintiff
  19   and other Class members have suffered significant losses and damages.
  20                 PLAINTIFF’S CLASS ACTION ALLEGATIONS
  21         84.    Plaintiff brings this action as a class action pursuant to Federal Rule
  22   of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons
  23
       other than defendants who acquired the Company’s securities publicly traded on
  24
       NASDAQ during the Class Period, and who were damaged thereby (the “Class”).
  25
       Excluded from the Class are Defendants, the officers and directors of the Company,
  26
       members of the Individual Defendants’ immediate families and their legal
  27
  28
  29                                            30
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   1   representatives, heirs, successors or assigns and any entity in which Defendants

   2   have or had a controlling interest.

   3         85.    The members of the Class are so numerous that joinder of all members
   4   is impracticable. Throughout the Class Period, the Company’s securities were
   5   actively traded on NASDAQ. While the exact number of Class members is
   6   unknown to Plaintiff at this time and can be ascertained only through appropriate
   7   discovery, Plaintiff believes that there are hundreds, if not thousands of members
   8   in the proposed Class.
   9         86.    Plaintiff’s claims are typical of the claims of the members of the Class
  10   as all members of the Class are similarly affected by Defendants’ wrongful conduct
  11   in violation of federal law that is complained of herein.
  12         87.    Plaintiff will fairly and adequately protect the interests of the
  13   members of the Class and has retained counsel competent and experienced in class
  14   and securities litigation. Plaintiff has no interests antagonistic to or in conflict with
  15   those of the Class.
  16         88.    Common questions of law and fact exist as to all members of the Class
  17   and predominate over any questions solely affecting individual members of the
  18   Class. Among the questions of law and fact common to the Class are:
  19         •      whether the Exchange Act was violated by Defendants’ acts as alleged
  20         herein;
  21         •      whether statements made by Defendants to the investing public during
  22         the Class Period misrepresented material facts about the business and
  23         financial condition of the Company;
  24         •      whether Defendants’ public statements to the investing public during
  25         the Class Period omitted material facts necessary to make the statements
  26         made, in light of the circumstances under which they were made, not
  27         misleading;
  28
  29                                              31
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   1         •      whether the Defendants caused the Company to issue false and
   2         misleading filings during the Class Period;
   3         •      whether Defendants acted knowingly or recklessly in issuing false
   4         filings;
   5         •      whether the prices of the Company securities during the Class Period
   6         were artificially inflated because of the Defendants’ conduct complained of
   7         herein; and
   8         •      whether the members of the Class have sustained damages and, if so,
   9         what is the proper measure of damages.
  10         89.    A class action is superior to all other available methods for the fair
  11   and efficient adjudication of this controversy since joinder of all members is
  12   impracticable. Furthermore, as the damages suffered by individual Class members
  13   may be relatively small, the expense and burden of individual litigation make it
  14   impossible for members of the Class to individually redress the wrongs done to
  15   them. There will be no difficulty in the management of this action as a class action.
  16         90.    Plaintiff will rely, in part, upon the presumption of reliance
  17   established by the fraud-on-the-market doctrine in that:
  18         •      the Company’s shares met the requirements for listing, and were listed
  19         and actively traded on NASDAQ, an efficient market;
  20         •      as a public issuer, the Company filed periodic public reports;
  21         •      the Company regularly communicated with public investors via
  22         established market communication mechanisms, including through the
  23         regular dissemination of press releases via major newswire services and
  24         through other wide-ranging public disclosures, such as communications with
  25         the financial press and other similar reporting services;
  26         •      the Company’s securities were liquid and traded with moderate to
  27         heavy volume during the Class Period; and
  28
  29                                            32
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   1         •       the Company was followed by a number of securities analysts
   2         employed by major brokerage firms who wrote reports that were widely
   3         distributed and publicly available.
   4         91.     Based on the foregoing, the market for the Company’s securities
   5   promptly digested current information regarding the Company from all publicly
   6   available sources and reflected such information in the prices of the shares, and
   7   Plaintiff and the members of the Class are entitled to a presumption of reliance
   8   upon the integrity of the market.
   9         92.     Alternatively, Plaintiff and the members of the Class are entitled to
  10   the presumption of reliance established by the Supreme Court in Affiliated Ute
  11   Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants
  12   omitted material information in their Class Period statements in violation of a duty
  13   to disclose such information as detailed above.
  14                                       COUNT I

  15     For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder

  16                                  Against All Defendants
  17         93.     Plaintiff repeats and realleges each and every allegation contained
  18   above as if fully set forth herein.
  19         94.     This Count is asserted against Defendants is based upon Section 10(b)
  20   of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder
  21   by the SEC.
  22         95.     During the Class Period, Defendants, individually and in concert,
  23   directly or indirectly, disseminated or approved the false statements specified
  24   above, which they knew or deliberately disregarded were misleading in that they
  25   contained misrepresentations and failed to disclose material facts necessary in
  26   order to make the statements made, in light of the circumstances under which they
  27   were made, not misleading.
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  29                                            33
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   1           96.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that
   2   they:
   3           •     employed devices, schemes and artifices to defraud;
   4           •     made untrue statements of material facts or omitted to state material
   5           facts necessary in order to make the statements made, in light of the
   6           circumstances under which they were made, not misleading; or
   7           •     engaged in acts, practices and a course of business that operated as a
   8           fraud or deceit upon plaintiff and others similarly situated in connection with
   9           their purchases of the Company’s securities during the Class Period.
  10           97.   Defendants acted with scienter in that they knew that the public
  11   documents and statements issued or disseminated in the name of the Company
  12   were materially false and misleading; knew that such statements or documents
  13   would be issued or disseminated to the investing public; and knowingly and
  14   substantially participated, or acquiesced in the issuance or dissemination of such
  15   statements or documents as primary violations of the securities laws. These
  16   defendants by virtue of their receipt of information reflecting the true facts of the
  17   Company, their control over, and/or receipt and/or modification of the Company’s
  18   allegedly materially misleading statements, and/or their associations with the
  19   Company which made them privy to confidential proprietary information
  20   concerning the Company, participated in the fraudulent scheme alleged herein.
  21           98.   Individual Defendants, who are the senior officers of the Company,
  22   had actual knowledge of the material omissions and/or the falsity of the material
  23   statements set forth above, and intended to deceive Plaintiff and the other members
  24   of the Class, or, in the alternative, acted with reckless disregard for the truth when
  25   they failed to ascertain and disclose the true facts in the statements made by them
  26   or any other of the Company’s personnel to members of the investing public,
  27   including Plaintiff and the Class.
  28
  29                                             34
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   1          99.    As a result of the foregoing, the market price of the Company’s
   2   securities was artificially inflated during the Class Period. In ignorance of the
   3   falsity of Defendants’ statements, Plaintiff and the other members of the Class
   4   relied on the statements described above and/or the integrity of the market price of
   5   the Company’s securities during the Class Period in purchasing the Company’s
   6   securities at prices that were artificially inflated as a result of Defendants’ false and
   7   misleading statements.
   8          100. Had Plaintiff and the other members of the Class been aware that the
   9   market price of the Company’s securities had been artificially and falsely inflated
  10   by Defendants’ misleading statements and by the material adverse information
  11   which Defendants did not disclose, they would not have purchased the Company’s
  12   securities at the artificially inflated prices that they did, or at all.
  13          101. As a result of the wrongful conduct alleged herein, Plaintiff and other
  14   members of the Class have suffered damages in an amount to be established at trial.
  15          102. By reason of the foregoing, Defendants have violated Section 10(b)
  16   of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the
  17   plaintiff and the other members of the Class for substantial damages which they
  18   suffered in connection with their purchase of the Company’s securities during the
  19   Class Period.
  20                                           COUNT II

  21                     Violations of Section 20(a) of the Exchange Act

  22                            Against the Individual Defendants
  23          103. Plaintiff repeats and realleges each and every allegation contained in
  24   the foregoing paragraphs as if fully set forth herein.
  25          104. During the Class Period, the Individual Defendants participated in the
  26   operation and management of the Company, and conducted and participated,
  27   directly and indirectly, in the conduct of the Company’s business affairs. Because
  28
  29                                                35
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   1   of their senior positions, they knew the adverse non-public information about the
   2   Company’s false financial statements.
   3         105. As officers of a publicly owned company, the Individual Defendants
   4   had a duty to disseminate accurate and truthful information with respect to the
   5   Company’s’ financial condition and results of operations, and to correct promptly
   6   any public statements issued by the Company which had become materially false
   7   or misleading.
   8         106. Because of their positions of control and authority as senior officers,
   9   the Individual Defendants were able to, and did, control the contents of the various
  10   reports, press releases and public filings which the Company disseminated in the
  11   marketplace during the Class Period concerning the Company’s results of
  12   operations. Throughout the Class Period, the Individual Defendants exercised their
  13   power and authority to cause the Company to engage in the wrongful acts
  14   complained of herein. The Individual Defendants therefore, were “controlling
  15   persons” of the Company within the meaning of Section 20(a) of the Exchange
  16   Act. In this capacity, they participated in the unlawful conduct alleged which
  17   artificially inflated the market price of the Company’s securities.
  18         107. By reason of the above conduct, the Individual Defendants are liable
  19   pursuant to Section 20(a) of the Exchange Act for the violations committed by the
  20   Company.
  21                                PRAYER FOR RELIEF

  22         WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for
  23   judgment and relief as follows:
  24         (a)    declaring this action to be a proper class action, designating Plaintiff
  25   as Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of
  26   the Federal Rules of Civil Procedure and designating Plaintiff’s counsel as Lead
  27   Counsel;
  28
  29                                            36
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   1         (b)    awarding damages in favor of Plaintiff and the other Class members
   2   against all Defendants, jointly and severally, together with interest thereon;
   3         (c)    awarding Plaintiff and the Class reasonable costs and expenses
   4   incurred in this action, including counsel fees and expert fees; and
   5         (d)    awarding Plaintiff and other members of the Class such other and
   6   further relief as the Court may deem just and proper.
   7                               JURY TRIAL DEMANDED

   8         Plaintiff hereby demands a trial by jury.
   9
  10   Dated: 2/5/2024                         THE ROSEN LAW FIRM, P.A.
  11                                           /s/ Laurence M. Rosen
                                               Laurence M. Rosen (SBN 219683)
  12                                           355 South Grand Avenue, Suite 2450
  13                                           Los Angeles, CA 90071
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  15                                           Email: lrosen@rosenlegal.com
  16
                                               Counsel for Plaintiff
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